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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW Y()RK

 

SECURITIES AND EXCHANGE
COMMISSION,

Plaintiff,

V.

PLATINUM MANAGEMENT (NY) LLC;
PLATINUM CREDIT MANAGEMENT, L.P.;
MARK NORDLICHT;

DAVID LEVY;

DANIEL SMALL;

URI LANDESMAN;

JOSEPH MANN; '

JOSEPH SANFILIPPO; and

JEFFREY S-HULSE;

Defendants.

 

 

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Civil Case No.
Complaint

Jury Trial Demanded

Plaintiff Securities and Exchange Commission (the “Commission”), for its Complaint

against Defendants Platinum Management (NY) LLC (“Platinum Management”), Platinum

Credit Management, L.P. (“Platinum Credit”), Mark Nordlicht (“Nordlicht”), David Levy

(”Levy”), Daniel Small (“Small”), Uri Landesman (“Landesman”), Joseph Mann (“Mann”),

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Joseph SanFilippo (“SanFilippo”) (collectively the “Platinum Defendants”), and Jeffrey Shulse
(“35Shulse”) (all collectively “Defendants”), alleges as follows:
5.` 553.1 sUMMARY

l. This case involves a multi~pronged fraudulent scheme by Platinum Management
and Platinum Credit, the managers of hedge funds Platinum Partners Value Arbitrage Fund
L.P.(together with its feeder funds, “PPVA”) and Platinum Credit Opportunities Master Fund
L.P. (together with its feeder funds, “PPCO”), respectively, led by Nordlicht, the co-Chief
Investment Officer (“_CIO”) of PPVA and PPCO.

sz¢¢r ,

2. `To existing and prospective investors, Platinurn Managernent projected stability
and confidence, reporting steady, positive returns every year that averaged 17% annually from }
2003-l 5. lt also guaranteed its investors liquidity, as they were permitted to redeem on 60 or 90
days’ notice (depending on when they invested) and receive payment of 90% of their redemption i
request within 30 days thereafter Marketing materials likewise stressed the fund’s ready
capacity to liquidate positions

3. Behind the scenes, however, PPVA faced a growing liquidity crisis, which
Platinurn Management, Nordlicht, Landesman, Mann and SanFilippo in various ways concealed
from existing and prospective investors for years. In fact, PPVA’S growing concentration in
illiquid positions made it ever-more difficult for Platinum Management to pay investor
redemptions on time each quarter lnternal documents discussing redemptions are replete with
references such as “Hail Mary time,” and of hoping that new subscriptions would prove
Sufflcient to pay current redemptions As early as November 2012, Nordlicht and Landesman

complained that redemptions were “daunting “ and “relentless,” and in June 2014 Nordlicht

wrote Landesman that “lt can’t go on like this or practically we will need to wind down. . . . this

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is code red . . . We can’t pay out 25 million in reds [redemptions] per quarter and have 5 come
in.” Nonetheless, existing and prospective investors were kept in the dark for years about
PPVA’s liquidity crisis; to the contrary, Platinum Management continued to market the fund’s
flexible redemption terms even as it struggled to pay redemptions

4. Platinum Management also deceived investors by vastly overvaluing its interest in
a small oil production company, Golden Gate Oil LLC (“Golden Gate”). This position, valued at
times by Platinum Management at around $170 million, purported to represent more than 19% of
PPVA’s total assets at the end of 2013. ln fact, it was worth a fraction of that. Golden Gate
consumed more than $20 million in PPVA loans and yet barely produced any oil, suffered large
operating losses and never made a single interest payment on PPVA’s loans. 'l`ellingly, when
Platinum Management engaged in transactions involving Golden Gate, including buying or
selling options to buy interests in the company, they were at values much lower than what it
carried on its books. Indeed, it eventually purchased the remaining 52% of Golden Gate for a
mere $3.2 million, and yet it was still touting an enterprise valuation of at least $170 million.
Platinum Management’s inflation of Golden Gate’s valuation by itself led to an overstatement of
PPVA’s AUM by as much as 13% at the end of 2014.

5. Platinum Management also orchestrated a fraudulent scheme in connection with
its other major oil investment, Black Elk Energy Offshore Operations LLC (“Black Elk”). In
part to cope with the fund’s deepening liquidity crisis, Nordlicht, two of his colleagues, Levy and
Small, and Black Elk CFO Shulse, schemed to divert almost $100 million - proceeds of a
forthcoming asset sale - out of Black Elk to benefit preferred shares held mostly by PPVA and
its affiliates The problem was that Black Elk noteholders, some of whom were independent of

Platinum Management, had priority over preferred shares, and Platinum Management and its

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affiliates which dominated Black Elk’s management, could not participate in any vote among
noteholders to change this priority. Thus, Nordlicht and others created a deceptive consent
solicitation process and rigged the vote. They secretly transferred a large block of notes from
PPVA and its affiliates to various entities advised by two other entities, B Asset Manager and B
Asset Manager ll (together, “BAM”), forl whom Levy served as CIO. They drafted a solicitation
document that falsely stated that PPVA and its affiliates only held $18 million in notes, when in
fact they controlled almost $100 million. BAM affiliates then joined PPVA and its affiliated
funds in casting its controlling block of notes for the consent solicitation Once the votes were
counted, and Platinum Management’s fraudulent scheme prevailed, Nordlicht, Levy and Small
directed Shulse to wire almost $100 million out of Black Elk for the benefit of PPVA and its
affiliates

6. Meanwhile, in 2014~15, PPVA’s liquidity crisis Worsened, and Platinum
Management resorted to other schemes to keep the fund afloat. F or example, faced with relying
on heavy short-term borrowing at annual interest rates as high as 19%, Platinum Management
and PPVA CFO SanFilippo told PPVA’s auditor that the loans were done to complete
“investment transactions” - a false explanation provided to investors in the fund’s audited
financials, when they were finally released to investors months later than they were supposed to
be. Platinum Management’s internal documents confirmed that the real purpose for the high-
interest borrowing was to ease the fund’s liquidity constraints

7. In mid-March 2015, Nordlicht, Landesman and other senior Platinum Partners
officials schemed to meet a sudden wave of over $70 million in redemptions by pressing
redeeming investors to cancel those redemptions or at least defer them one quarter, and to launch

an aggressive push for new investment money, all while concealing PPVA’s liquidity

 

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crisis Their pitch focused on anticipated investment gains in the following month, while
omitting mention of the firm’s significant liquidity crisis, which would obviously scare new
investors and people looking to redeem.

8. Nordlicht also treated investor monies held in separate funds under the Platinum
Partners umbrella as fungible, transferring money between funds as needed to meet liquidity
demands, contrary to promises made to investors in each fund and representing an obvious
conflict of interest. In particular, Platinum Management schemed with Platinum Credit to have
PPCO make over $30 million in loans to PPVA in least in part to help PPVA make payments
that were corning due. On one occasion, $7 million in new subscriptions to PPCO was diverted
to PPVA within 24 hours to pay off an overdue short-term loan owed by PPVA. Also, certain
preferred redeeming PPVA investors were allowed to transfer interests worth millions of dollars
to PPCO, but no cash moved from one fund to the other. The amount was merely added to the

principal owed by PPVA on its outstanding loan from PPCO, and PPCO got nothing more than a

 

promise to pay by a fund that couldn’t pay its redemptions.

9. Along the way, Platinum Management and Nordlicht also repeatedly paid
redemptions in a preferential manner, even as they continued to market redemption rules that
promised investors equal treatment l

10. Eventually, in late November 2015, Platinum Management placed a majority of
PPVA’s assets, all highly illiquid, in a “side pocket”, from which no redemptions were possible
for three years Even then, however, few redemptions were paid from the supposedly more
liquid original PPVA fund.

11. ln J'une 2016, after the FBI executed a search warrant on Platinum Management’s'

premises, as well as the filing of criminal charges against a co~owner of Platinum Partners (the

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umbrella entity for the Platinum companies), Nordlicht announced to investors that PPVA and
PPCO would stop taking in new money and would look to monetize current investments in an
orderly fashion

12. The PPVA fund is currently in liquidation in the Cayman Islands, while the PPCO
fund and another Platinum Partners affiliated fund (the Platinum Partners Liquid Opportunity
Fund (“PPLO”)) have contractually retained an independent monitor. By way of this action, the
Commission seeks to have a court-appointed receiver installed over the domestic PPCO and
PPLO funds and their respective advisers (together, the “Receivership Entities”), in order to
protect investor assets and secure a fair and orderly process by which assets are liquidated and
distributions are made to investors

VIOLATIONS

13. By virtue of the conduct alleged herein, Platinum Management, Platinum Credit
and Nordlicht, directly or indirectly, singly or in concert, have engaged and are engaging in
transactions7 acts, practices and courses of business that constitute violations of Sections 206(1),
206(2) and 206(4) of the Investment Advisers Act of 1940 (the “Advisers Act”), 15 U.S.C. §§
80b-6(l), (2), and (4), and Rule 206(4)~8 thereunder, 17 C.F.R. § 275.206(4)-8.

14. By virtue of the conduct alleged herein, Nordlicht, in the alternative, aided and
abetted Platinum Management’s and Platinum Credit’s violations of Sections 206(1), 206(2) and
206(4) of the Advisers Act, 15 U.S.C. §§ 80b-6(l), (2), and (4), and Rule 206(4)-8 thereunder,
17 C.F.R. § 275.206(4)-8; and Landesman, Levy, Mann, SanFilippo and Small aided and abetted
Platinum Management’s violations of Section 206(4) of the Advisers Act, 15 U.S.C. §80b-6(4),

and Rule 206(4)-8 thereunder, 17 C.F.R. § 275.206(4)-8 .

 

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15. By virtue of the conduct alleged herein, Platinum Management violated Section
206(4) of the Advisers Act, 15 U.S.C. §80b-6(4), and Rule 206(4)-2 thereunder, 17 C.F.R. §
275.206(4)-2.

16. By virtue of the conduct alleged herein, Platinum Management, Platinum Credit
Nordlicht, Landesman, Levy and SanFilippo, directly or indirectly, singly or in concert, have
engaged and are engaging in transactions, acts, practices and courses of business that constitute
violations of Section 17(a) of the Securities Act of 1933 (the “Securities Act”), 15 U.S.C. §
77q(a), and Mann, directly or indirectly, singly or in concert, has engaged and is engaging in
transactions, acts, practices and course of business that constitute violations of Securities Act
Section 17(a)(1) and (3), 15 U.S.C. § 77q(a)(1)`and (3).

17. By virtue of the conduct alleged herein, Platinum Management, Platinum Credit
Nordlicht, Landesman, Levy, SanFilippo and Small, directly or indirectly, singly or in concert,
have engaged and are engaging in transactions acts, practices and courses of business that
constitute violations of Section 10(b) of the Securities Exchange Act of 1934 (the “Exchange
Act”), 15 U.S.C. § 78j(b), and Rule 10b-5 thereunder, 17 C.F.R. §240.10b~5, and Mann and
Shulse, directly or indirectly, singly or in concert, have engaged and are engaging in transactions,
acts, practices and courses of business that constitute violations of Exchange Act Section 10(b),
15 U.S.C. § 78j(b), and Rule lOb-S(a) and (c) thereunder, 17 C.F.R. §240.10b-5(a) and (c).

18. By virtue of the conduct alleged herein, Nordlicht and Levy, in the alternative,
aided and abetted Platinum Management’s and Platinum Credit’s violations of Section 17(a) of
the Securities Act, 15 U.S.C. § 77q(a), and Section 10(b) of the Exchange Act, 15 U.S.C. §
78j(b), and Rule 10b-5 thereunder, 17 C.F.R. §240.10b-5; Landesman, Mann and SanFilippo, in

the alternative, aided and abetted Platinum Management’s violations of Section 17(a) of the

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Securities Act, 15 U.S.C. § 77q(a), and Section 10(b) of the Exchange Act, 15 U.S.C. § 78j(b),

and Rule 10b-5 thereunder, 17 C.F.R. §240.10b-5; Small, in the alternative, aided and abetted

Platinum Management’s violations of Section 10(b) of the Exchange Act, 15 U.S.C. § 78j (b),

and Rule 10b-5 thereunder, 17 C.F.R. §240.10b-5; and Shulse, in the alternative, aided and

abetted Platinum Management, Nordlicht, Levy and Small’s violations of Section 10(b) of the

Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 thereunder, 17 C.F.R. §240.10b-5.
NATURE OF THE PROCEEDINGS AND RELIEF SOUGHT

19. The Commission brings this action pursuant to the authority conferred upon it by
Section 209 of the Advisers Act, 15 U.S.C. § 80b-9, Section 20 of the Securities Act, 15 U.S.C. §
77t, and Section 21 of the Exchange Act, 15 U.S.C. § 78u, seeking to permanently enjoin
Defendants from engaging in the acts, practices and courses of business alleged herein and for
such other relief as set forth below.

20. In addition, the Commission brings an emergency action seeking: (1) a temporary
restraining order and preliminary injunction against Defendant Platinum Credit enjoining it from
future violations of Sections 206(1), 206(2) and 206(4) of the Advisers Act, 15 U.S.C. §§ 80b-
6(1), (2), and (4), and Rule 206(4)-8 thereunder, 17 C.F.R. § 275.206(4)-8; Section 17(a) of the
Securities Act, 15 U.S.C. § 77q(a); and Section 10(b) of the Exchange Act, 15 U.S.C. § 78j(b),
and Rule 10b-5 thereunder, 17 C.F.R. §240.10b~5; (2) appointing a receiver over the
Receivership Entities; (3) prohibiting the Receivership Entities from destroying or altering any
documents; and (4) permitting the Commission to conduct expedited discovery.

JURISDICTION AND VENUE
21. This Court has jurisdiction over this action, and venue lies in this District,

pursuant to Section 214 of the Advisers Act, 15 U.S.C. § 80b-14; Sections 20(b), 20(d) and 22(a)

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of the Securities Act, 15 U.S.C. §§ 77t(b), 77t(d) and 77v(a) and Section 21(d) of the Exchange
Act, 15 U.S.C. § 78u(d).

22. Defendants, directly or indirectly, made use of the means or instruments of
transportation or communication in interstate commerce, or of the mails, or of a facility of a
national securities exchange, in connection with the transactions acts, practices, or courses of
business alleged herein, certain of which occurred in this District.

23. For example, various investors and portfolio managers were located in Brooklyn,
New York, and communications in furtherance of the fraudulent schemes and other violations
alleged herein were sent to them through the means or instruments of communication in
interstate commerce.

DEFENDANTS

24. Platinum Management is an investment adviser registered with the Commission
since September 2, 2011. lt is a Delaware limited liability company headquartered in New York,
New York, and is the adviser to various funds, including PPVA. Platinum Management’s March
30, 2016 Form ADV (“ADV”) reported that it had approximately $1 billion in assets under
management (“AUM”).

25. Platinum Credit, a Delaware limited partnership headquartered in New York,
New York, is a relying adviser of Platinum Management, i. e. , it is included within Platinum
Management’s umbrella adviser registration with the Cornmission. Platinum Credit is the
adviser to the PPCO. Platinum Management’s March 30, 2016 ADV reported that Platinum
Credit had approximately $590 million in AUM in PPCO. .

26. Nordlicht, 48, resides in New Rochelle, New York. He is chairman of Platinum

Partners, the umbrella organization for the various funds, co-chief investment officer or CIO of

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Platinum Management and Platinum Credit, and CIO of Platinum Liquid Opportunity
Management (NY) LLC (“Platinum Liquid”), a relying adviser of Platinum Management He
also owns, directly and indirectly, between a 20% and 33% beneficial interest in Platinum
Management, Platinum Credit and Platinum Liquid, and he, his relatives and/or related trusts are
also investors in certain of the funds managed by the above-named advisers Nordlicht also was
a member of the managing member of Platinum Partners Black Elk Opportunities Fund LLC
(“PPBE”). From 1998-99, he held Series 7 and Series 63 licenses and was registered with
FINRA.

27. Levy, 41, resides in New York, New York. He -is an owner and co-CIO of
Platinum Management and Platinum Credit. He previously served as a PPVA portfolio manager
from 2006 to approximately the end of 2013, including with respect to PPVA’s investment in
Black Elk. He also was chairman and CIO and general partner of the managing member of

PPBE. At the end of 2013, Levy purported to leave Platinum Partners, and he became the CIO

 

and 10% owner of B Asset Manager LP and B Asset Manager 11 LP (together, “BAM”), the CIO,
CFO, and 49.99% owner of Beechwood Re Ltd., and the CIO and 49.99% of Beechwood
Bermuda Ltd. (the latter two, together, “Beechwood”).

28. Small, 45, resides in New York, New York. From 2007 to at least 2014, he was a
managing director and portfolio manager at PPVA, and a portfolio manager of, among other
things, Black Elk. He also was a managing director and portfolio manager of PPBE. From July
2009 to at least 2014, he served as a Platinum Management-appointed member of Black Elk’s
board of managers

29. Landesman, 55, lives in New Rochelle, New York. He was managing general

partner of PPVA and PPLO until approximately April 2015, and formerly held a percentage of

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Platinum Management’s ownership Thereafter, he continued to have substantial responsibility
for investor communications for PPVA. He also supervised PPVA’s Chief Marketing Officer.

30. Mann, 24, resides in Brooklyn, New York. At times pertinent to this Complaint,
he worked in the investor relations department of Platinum Management

531. SanFilippo, 38, resides in Freehold, New Jersey. At times pertinent to this
Complaint, he was the CFO of PPVA_ He is licensed as a CPA in New York.

32. Shulse, 46, resides in Houston, Texas. He was the CFO of Black Elk from
approximately January to September 2014, and the CEO thereafter until early 2015. His Texas
CPA license expired in 2014 and was suspended thereafter due to Shulse’s failure to complete
his mandatory continuing professional education, or CPE.

RELATED ENTITIES

33. PPVA is a Cayman Islands exempted limited partnership managed directly by
Platinum Management PPVA has the following feeder funds: Platinum Partners Value
Arbitrage (International) LTD; Platinum Partners Value Arbitrage Fund (USA) L.P.; and,
Platinum Partners Value Arbitrage lntermediate Fund L'I`D. The PPVA feeder funds were
offered only to qualified purchasers, as that term is defined in the Investment Company Act of
1940 (the “Company Act”). PPVA was marketed as a multi-strategy fund that includes
long/short fundamental equity trading', asset-based financing in energy, mining, and other
industries; energy-related and Asia-based arbitrage opportunities; and event-driven investing in
corporations

34. PPCO is a Delaware limited partnership managed by Platinum Credit. lt has the
following feeder funds: Platinum Partners Credit Opportunities Fund (3TE) LLC; Platinum

Partners Credit Opportunities Fund lnternational (A) LTD.; Platinum Partners Credit

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Opportunities Fund lnternational LTD.; Platinum Partners Credit Opportunities Fund LLC; and,
Platinum Partners Credit Opportunity Fund (BL) LLC. The PPCO feeder funds were offered
only to qualified purchasers as that term is defined in the Company Act. PPCO was marketed as
a single-strategy fund that invests in asset-based loans in areas such as natural resources, energy
litigation, life insurance settlements and receivables

35 . Platinum Liquid is a Delaware limited liability company that serves as the
investment manager to Platinum Partners Liquid Opportunity Fund (USA) L.P. (“PPLO USA”);
Platinum Partners Liquid Opportunity Fund (International) LTD,; Platinum Partners Liquid
Opportunity lnterrnediate Fund L.P. and Platinum Partners Liquid Opportunity Master Fund L.P.
(the “PPLO Master Fund”) (such funds, together, “PPLO”). lt is a relying adviser of Platinum
Management Platinum Management’s March 30, 2016 ADV reported that Platinum Liquid had
approximately $27 million in AUM in PPLO. At times pertinent to this Complaint, Nordlicht
was the CIO for Platinum Liquid and was “responsible for oversight of all trading, asset
allocation and risk management on behalf of the Platinum-managed funds.” At times pertinent
to this Complaint, Nordlicht was the majority owner of Platinum Liquid. Landesman became
President of Platinum Liquid in April 2010 and became the managing member of Platinum
Liquid effective January 1, 2011.

36. B Asset Manager LP and B Asset Manager II LP (together, “BAM”),

headquartered in New York, are operationally integrated unregistered investment advisers that

 

manage assets primarily obtained by their controlled affiliates through reinsurance contracts with
domestic insurance companies and under investment management agreements made directly with

domestic insurance companies Nordlicht, Levy, and two other close associates collectively

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owned 68.9% of BAM through at least August 2016. BAM claims to have approximately $2
billion in AUM and is an affiliate of the Beechwood reinsurance entities
37. PPBE is a special purpose vehicle through which other Platinum funds and
individual investors obtained interests in Black Elk Class E preferred shares
w

Background

38. Platinum Partners had two principal funds - PPVA, created in 2003, and PPCO,
formed in 2005. PPVA, the flagship, was billed as a multi-strategy hedge fund, ranging from
long/short equity fundamental strategies and arbitrage to asset-based finance Meanwhile, a
primary investment strategy of PPCO was “to originate a variety of high yield, fixed income
instrrrments.”

39. PPVA was billed as a liquid fund. Its domestic and foreign feeder fund PPMS,
consistent with their respective limited partnership agreement (“LPA”) and governing articles,
Set out a fixed, orderly redemption process for all investors: quarterly redemptions, upon 60 or
90 days advance notice (depending on the version of the PPM), with the fund “intend[ing] to
pay” to the investor at least 90% of the amount requested within 30 days, with the remaining
10% potentially held back for completion of the fund’s audit. Nothing elsewhere in the PPMs or
their respective formative documents granted broad discretion to pay some redemption requests
but not others, particularly those submitted in the same cycle.

40. Platinum Management’s Due Diligence Questionnaires for PPVA (“DDQs”)
confirmed the fund’s liquidity. From September 2013 through September 2015, they stated, in
Part,

How long does it take to exit the most liquid positions in the portfolio?

The Fund's most liquid positions could, under normal market conditions, typically be
liquidated in less than a week, including assets in the Energy and Power Arbitrage,

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Long/Short Fundamental Equity, Event Driven, Quantitative and Asia Based Arbitrage
strategies

The listed liquid strategies represented more than half of the portfolio during that same period,
according to monthly “tear sheets” sent to investors, as well as marketing presentations provided
_ principally to prospective investors F or example, a May 2016 presentation stated the fund was
targeting “42% risk allocation to short term trading and relative value strategies, 26% to event
driven strategies and 32% to asset based finance strategies.”

41. Fund documents also carefully delineated the separation between the finances of
the PPVA and PPCO funds For example, the March 2015 PPCO and April 2015 PPVA PPMs
stated, as a risk factor, that they permitted loans to or from affiliated funds, but only in narrow
circumstances: “in the event that an affiliate fund, such as one of the Platinum-managed funds,
requires additional funds on a short-term basis in order to make an investment, the Master Fund
may loan such affiliate fund any amounts to facilitate such investment”; likewise, “in the event
the Master Fund requires additional funds on a short-term basis in order to make an investment,
the Managing Member, the Loan Portfolio Manager or their Affiliates and/or an affiliate fund,
such as one of the Platinum-managed funds, may loan the Master Fund any amormts to facilitate
such investment” (quoting PPCO Onshore March 2015 PPM; emphasis added.).

42. On the surface, PPVA and PPCO were highly successful funds As of March
2016, Platinum Management reported that PPVA had almost $1.1 billion in AUM, and PPCO
had almost $600 million in AUM. Also, PPVA reported a virtually unbroken string of strong
and steady reported performance, with its NAV going up each year from 2003 to 2015, for an
average annual return of 17%, with typically small gains reported for 85% of the months

throughout this period

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43. Beneath the surface, however, lurked serious problems which defendants kept
from investors for years ln fact, from at least 2012, PPVA faced recurring liquidity crises
There was a growing liquidity mismatch, as the fund became increasingly concentrated in
illiquid investments including equity and debt positions in start-up companies many of which
were not publicly traded.` And yet, many investors could and did demand their money back
every quarter. Although the liquidity crisis extended for years Platinum Management did not -
for whatever reason ~ sell enough of its illiquid portfolio to overcome this crisis lnstead, it took
cash out of more liquid strategies thus skewing the balance of the portfolio toward greater
illiquidity even while the liquidity pressures remained

44. For example, in a November 6, 2012 email entitled “Current Redemptions Nov 5, t

2012,” a Platinum Partners employee advised Nordlicht that there were “$27 million total,”

apparently referring to outstanding redemption requests Nordlicht forwarded this email to
Landesman and stated: “lf we don’t exceed this in subs [new subscriptions] from dec 1 and jan l
we are probably going to have to put black elk [one of the fund’s illiquid investments] in side
pocket. 1 also need to pay back [a loan from an individual] and an additional 4 million oct 31 and
nov 30 so we are talking 40” - apparently indicating they needed to get $40 million in new
subscriptions to cover pending redemption requests and other obligations Landesman responded
by saying he would try his best, and that he thought “. . .we could sweep the table here, so far,
think Jan 1Sl is a possibility for some, if not all.” Nordlicht replied that “it’s just very daunting.
lt seems like we make some progress and then reds [redemptions] are relentless almost. lt’s
tough to get ahead in subs [subscriptions] if u have to replace 150-200 a year. . . .” Landesman

replied: “Didn’t take it as complaining, it is my job. Redemptions very daunting.”

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45. That said, illiquid positions most of them categorized for accounting purposes as
“Level 3” assets which represented almost 80% of fund assets at the end of 2014, had one virtue
for Platinum Management since they were not publicly traded and there were no other readily
available market prices they were valued by Platinum Management itself, “determined in such
manner as may be selected from time to time by the Investment Manager in its discretion.’l

46. To be sure, the PPVA PPMs limited this discretion by requiring that the result
represent “fair value.” Platinum Management reassured investors by noting in its DDQs that its
valuations were verified by an internal valuation committee And the DDQs, tear sheets and
marketing presentations touted that Platinum Management used the services of an independent
valuation agent In reality, however, Nordlicht often instructed his staff to adjust the values of
various positions up or down, with the staff left to flesh out the rationales for those adjustments

47. Platinum Management’s external auditor in early 2015 reported to it that “a
material weakness exists in the Master Fund’s investment valuation process related to its Level 3
investments.” Platinum Management did not disclose to its investors this important information
The auditor also identified a “very material” misstatement that required a large markdown of the
valuation of one large, illiquid position, triggering a restatement of the fund’s year-end 2013
AUM.

48. Platinum Management terminated that auditor. Still, the replacement auditor
included in its 2014 opinion, which it did not issue until September 2015, an “emphasis-of-
matter” stating that management’s estimated values for investments representing over $800
million rested on unobservable inputs and that the amounts that might be realized in the near-

terrn could differ materially from management’s valuations

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49. Platinum’s substantial control over the valuations of its illiquid positions helped
ensure that fund performance, which was largely composed of unrealized gains remained steady,
This was essential, because shortfalls in performance could be expected to trigger more
redemptions and so deepen the liquidity crisis

Over'valuation of Golden Gate Oil LLC Investment

50. A principal example of PPVA’s growth in AUM through unrealized gains is
Platinum Management_’s manipulation of the valuation of its disastrous investment in Golden
Gate, a start-up oil production company it helped create in 2012. In 2013 through 2014, PPVA’s
reported AUM of approximately $900 million to $1 billion rested heavily on the valuation of this
single investment. Whereas Platinum Management valued Golden Gate at approximately $78
million at the end of 2012 (when PPVA’s equity interest in Golden Gate was 48% of the
company, or $37 million), the value rose sharply to $173 million at the end of 2013 (when PPVA
owned or had the option to buy a 100% interest).

51. At the end of 2013, the Golden Gate equity and loan constituted approximately
19% of PPVA’s AUM, the fund’s largest position At the end of 2014, even after the price of oil
had plummeted 60%, from $100 to $40 per barrel, PPVA valued its equity in Golden Gate at
$140 million, less than 20% below its 2013 year-end valuation lt also continuously valued at
par its loans to Golden Gate, which reached $18 million in principal by the end of 2013, even
though Golden Gate never made a single interest payment to PPVA.

52. Throughout this period, Nordlicht was principally responsible for setting the
valuation of Golden Gate for PPVA. Golden Gate was vastly overvalued, for multiple reasons

53. First, PPVA sharply increased its valuation of Golden Gate while in fact the

company’s performance was falling far below initial projections with minuscule oil production

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and heavy operating losses Golden Gate’s first stage involved the drilling of seven wells but it
encountered large drilling cost overruns consuming 318 million borrowed from PPVA by the
end of 2013, as well as delays in obtaining needed permits Moreover, the wells produced
mostly water and many were shut in (z'.e., not producing). The only consistently-producing well
3 provided revenue representing less than 10% of initial projections As a result, far from
generating the expected millions in cash flow to pay for future drilling, Golden Gate generated '
$6 million in net losses in 2013.

54. Second, Several transactions with third parties concerning the sale of some or all
of Golden Gate’s assets were for a mere fraction of the valuation that PPVA carried on its books
for the same assets

5 5. For example, in October 2013, PPVA granted its partner an option to buy one of
the two main Golden Gate oil fields for a mere $6.2 million, barely one-tenth of the value touted
by PPVA for the same fields

5 6. At the same time, the partners granted each other an option to buy the other
party’s share for $60 million, effectively meaning that the whole company was worth roughly
$120 million (rather than $l73 million).

57. One month later, though, Black Elk (another PPVA investment) reported in a

public filing that it had obtained an option to buy the whole company for $60 million, This

 

posed a problem for Platinum Management; Months later, a PPVA portfolio manager for Golden
Gate told Nordlicht and Levy that a potential third party lender had brought up Black Elk’s
filing, saying “the issue is that it publicly discloses the value of the option and therefore pegs
GGO [Golden Gate]’s value to $60M. This is ultimately a marketing issue that could be dealt

with but something we should all be aware of.”

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58. Then, in August and September of 2014, PPVA in fact bought out its partner’s
52% interest in Golden Gate not for $60 million, or $30 million, but a mere $3.2 million, with an
additional $5.9 million contingent on achievement of production levels that Golden Gate had not
come close to achieving These actual option and sales prices belie Platinum Management’s far
higher valuations including an enterprise valuation of at least $170 million it touted as of
September 30, 2014. Third, even internally Platinum Management personnel frequently
acknowledged Golden Gate was worth much less than claimed In early 2012, Nordlicht initially

scoffed at his portfolio manager’s optimistic projections “I cringe at the l billion PV-lO number

[a measure of the present value of the oil reserves] as it doesn’t mean anything . . . . when u have
billion ple on fields that are worth 15 [$15 million] in sale now, it doesn’t really mean much . .
. .” Likewise, in late 2012, one of Platinum’s project managers for Golden Gate wrote to
Nordlicht that once Golden Gate, as a first step, had about seven wells producing at its two
fields the value would rise to $45 million Nonetheless, at the end of 2013, when the drilling l
program had fallen far short even of that goal and Golden Gate was deeply in the red, Platinum
Management increased PPVA’s valuation of its interest to $173 million 3

5 9. Tellingly, in early 2014, Nordlicht did not grant discretionary compensation to the
portfolio managers responsible for Golden Gate based on the valuation that was on PPVA’s
books

60. Fourth, Platinum Management took steps to mislead third parties who evaluated
Golden Gate’s reserves and the value of PPVA’s interest in the company Those third parties
were largely at Platinum Management’s mercy, for they relied upon Platinum Management and
Golden Gate for virtually all of the inputs used in their calculations For example, Platinum

Management retained an independent valuation expert to buttress its own ultimate valuations but

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the valuation expert’s quarterly reports repeatedly contained multiple false statements obtained
from Platinum Management, overstating the number of producing wells and the volume of oil
production

61. When Platinum Management considered having Black Elk buy PPVA’s interest in
Golden Gate, an independent engineering firm chosen by Black Elk made preliminary estimates
that Valued Golden Gate’s reserves at about 10% of the estimates made by the engineering firm
retained by Golden Gate. In particular, Black Elk’s engineering firm found that most of the
reserves should be characterized as merely “probable” rather than as “proven” - a critical
difference since classifying reserves as proven rather than probable would have a positive effect
on PPVA’s interest in Golden Gate. Nordlicht ordered that those lower estimates be ignored.

62. Although Golden Gate’s chosen engineering firm was willing to characterize
more reserves as proven, that firm ultimately determined that it could no longer produce reserve
reports for Golden Gate based on the company’s pattern of making unrealistic projections of
future well completions and production

63. Overall, Platinum Management and Nordlicht’s words and conduct, including the
exceedingly small consideration paid to obtain a larger equity stake in Golden Gate, and the
decision to hold on to the Golden Gate asset in the throes of deep liquidity crises, reflect that
Nordlicht understood that the valuations he was continuing to use for PPVA’s balance sheet did
not accurately reflect the lesser realizable value reflected by Platinum Management’s negative
experiences in attempting to develop profitable wells

64. Platinum Management’s and Nordlicht’s recklessly or knowingly inflated
valuation of PPVA’s interest in Golden Gate was material to the fund’s overall valuation For

exarnple, the $3 .2 million PPVA paid for the remaining 52% interest in Golden Gate in

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September 2014 implied an enterprise value of about $6.2 million for the whole company.
Meanwhile, as of December 31, 2014, PPVA valued Golden Gate at $140 million Deducting
the difference of $134 million from the fund’s overall $872 million in “investrnents in securities”
as of the end of 2014 would reduce that line item on its balance sheet by 16%. Likewise, the
3134 million represented approximately 13% er PPvA’S everen AUM ers1.04 barren es er the
end of 2014.

65. Byfailing to adjust Golden Gate’s valuation to match reality, Nordlicht and
Platinum Management inflated the management and incentive fees they received based on that
inflated valuation

66. Meanwhile, Platinum Management responded to investor skepticism about
Golden Gate by misleading at least one investor Who raised repeated concerns about PPVA’s

l energy positions and their valuation On March 28, 2014, investor relations official Mann
provided this investor with a report about Golden Gate and Black Elk “that we have just created
for investors who Would like to know more about the two positions” In fact, however, the report
was replete with misstatements exaggerating Golden Gate’s performance lt included charts not
labeled as either actual or proj ected, showing Golden Gate’s first quarter revenues as $4.6
million In fact, information readily available to Platinum showed that Golden Gate’s revenue
for the first quarter (then almost entirely concluded) was less than 5% of the reported figure:
$229,000.

67. Moreover, focusing just on revenues was misleading, because due to high
operating costs Golden Gate had a net operating loss of $100,000 for Ql 2014. The same report
reported Q1 2014 production as 508 barrels per day, when in fact net production for the quarter

was less than 30 barrels per day. The report also vastly overstated probable reserves pegging

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them at 16 million barrels, When the most recent engineering reserve report then available
Showed only 6 million barrels of probable reserves The report also said that “Overall PPVA has
lent less than $18 million to GGO.” In fact, as of December 31, 2013, the amount lent was $18.4
million, and after further lending in January and February of 2014 the total outstanding stood at
$21.8 million

68. These misstatements built upon Mann’s statement to the same investor two days
earlier, after speaking with Nordlicht, that Nordlicht had changed his mind about combining
Golden Gate with Black Elk “since Golden Gate has been doing very well since then” - at a time
when the project was in fact losing money and producing almost no oil.

2014: Growing Liguidity Crises and the Ensuing Black Elk F rand

69. By 2014, PPVA’s liquidity crisis had worsened. SanFilippo sent Nordlicht and
Landesman an email on February 5, 2014, attaching a chart entitled “December 31 Redemption
Summary” that highlighted approximately $14 million in redemptions and other monies still
owing to investors based on their December 31 redemption requests. lndeed, under the PPMs,
payment was required within 30 days and so this amount was overdue. The same chart indicated
that other, apparently preferred, investors, had been paid over $22,325,000 in connection with
the same quarterly redemption period.

70. Likewise, in a board meeting of the Directors of PPVA Intemational held on
March 12, 2014, in Which Nordlicht and Landesman participated, Platinum Management
acknowledged that the fund had experienced a greater number of redemptions than net capital
contributions during 2013. Platinum Management also represented to the Board that 40% of the
fund could be liquidated in 30 days, but it also represented that it was focusing on making the

portfolio more liquid.

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71. Despite these promises, when an investor emailed Landesman on April 29, 2014
asking when the wires would go out for the April l redemptions, payments for which were due
no later than the next day, Landesman could not answer and instead forwarded the email to
SanFilippo, asking: “What can l tell Jacques?”

72. Later on April 29, 2014, Nordlicht sent an email to San Filippo stating: “Start
paying down reds [redemptions] as u can. Between Blake and ppbe (additional 10 million), shd
have decent short term infusion. Hopefully some may l subs [subscriptions] show up as well.
Have a few more outflows to discuss but this is obviously the priority.” As indicated in
Nordlicht’s stated hope about subscriptions showing up, PPVA was heavily dependent on the
infusion of new money from both subscriptions and other sources to meet its ongoing redemption
obligations and lacked sufficient liquid assets in its portfolios to meet its redemption obligations

73. A June 3, 2014 email from a Platinum employee to Nordlicht and others entitled
“Cash Sheet” listed cash on hand of $96,000; “Pending Inflows” totaling $20,000,000; “Pending
Outflows” totaling $l6,750,000 and Redemptions of $500,000 for May and $9,500,000 for June,
which resulted in a “Projected Cash” of negative $6,154,000. Nordlicht forwarded this email to
another employee instructing him to: “Take June reds off the list,” suggesting that they were
unable to meet the pending June redemptions of $9,500,000 due to cash flow problems.

74. On June l6, 2014, Nordlicht emailed Landesman that the firm was in “code red”
due to its inability to match redemptions with quarterly inflows of investor funds. Nordlicht
stated:

It can’t go on like this or practically we will need to wind down. This is not a

rhetoric thing, it’s just not possible to manage net outflows of this magnitude I

think we can overcome this but this is code red, we can’t go on with the status
quo. We can’t pay out 25 million in reds per quarter and have 5 come in. . ..”

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Landesman responded: “We are pushing hard, illiquidity a bigger hurdle than energy
concentration . .Need monetization/liquidity events in the fund. . .” Nordlicht replied: “. . . .We
just need to short term go crazy, get everyone focused, and long term try to come up with
marketing pitches where we can raise even when we are illiquid.”

75. ln early 2014, these same liquidity problems caused Nordlicht to focus on Black
Elk, PPVA’s other large, illiquid energy investment

76. Black Elk operated oil wells in the Gulf of Mexico, and PPVA was its principal
lender. Platinum Management officials once considered the Black Elk position one of the
strongest in PPVA’s portfolio. At the end of 2012, Platinum Management’s valuation of Black
Elk represented 24% of PPVA’s total assets However, Black E]k’s ambitious expansion plans
ran into problems after a deadly 2012 explosion on an offshore rig prompted numerous official
investigations By 2014 its economic performance was-mixed and it was struggling to pay its
bills

77. Meanwhile, as of early 2014, PPVA owned the vast majority of Black Elk’s
preferred shares, and a large portion of Black Elk’s 3150 million face value of outstanding senior
secured notes PPVA also had the power to control Black Elk’s management, as admitted by
Black Elk in its Form lO-K, as PPVA owned about 85% of the outstanding voting membership
interests and had the authority to appoint and remove all Black Elk key personnel and determine

management policiesl

 

l “As of December 31, 2013, Platinum beneficially owned approximately 85 % of our
outstanding voting membership interests and approximately 66% of our total outstanding
membership interests As a result, and for as long as Platinum holds a membership interest in us,
Platinum has the ability to remove and appoint key personnel, including all of our managers and
to determine and control our company and management policies, our financing arrangements the
payment of dividends or other distributions, and the outcome of certain company transactions or
other matters submitted to our members for approval, including potential mergers or acquisitions

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78. Moreover, PPVA aggressively exercised this power, through Nordlicht, as well as
through Levy and Small who Were also PPVA portfolio managers for Black Elk. They did So by
appointing a majority of Black Elk’s Board of Managers, appointing Shulse as CFO, repeatedly
forcing the CEO to rescind his firing of that CFO and otherwise usurping the CEO’s authority,
making prolonged, almost weekly visits to Black Elk’s Houston office, and controlling which of
Black Elk’s vendors were paid (if at all) and when. As the CEO later testified in Black Elk’s
bankruptcy proceeding, “Platinum was calling all of the financial shots l would say as of
February [2014], they were in complete control of, you know, essentially almost every daily
activity and most certainly stayed on top on every penny in and every penny out.”

79. Nordlicht decided to use this control over Black Elk not to try to turn around the
company’s business but to plunder its assets for the benefit of PPVA and its affiliates by getting
repayment of most or all of approximately $110 million in Black Elk preferred shares held by
those entities A key reason was to stave off PPVA’s liquidity crisis Nordlicht acknowledged
the liquidity crisis in vivid terms in an email to Small on March 17, 2014:

This is also a week I need to figure out how to restructure and raise money to pay

back 110 million of preferred which if unsuccessful, wd be the end of the fund.

This ‘liquidity’ crunch was caused by our mismanagement ~yours David and l ~

of the black elk position so I will multitask and also address your concerns but

forgive me ifl am a little distracted. l have been up until 3 am for the last two

weeks working through this issue.

80. ln 2014, Black Elk agreed to sell much of its prime assets to Renaissance
Offshore, LLC. Platinum Management, Nordlicht, Levy and Small schemed to divert the

proceeds from that sale to redeem preferred shares most of which were held by PPVA and

affiliated funds However, the Black Elk note indenture required that such proceeds be paid first

 

asset sales and other significant corporate transactions As a controlling member, Platinum could
make decisions that may conflict with noteholders’ interests.”

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to the noteholders and many of the notes were held by non-Platinum parties So the Platinum
parties thus devised a scheme to amend the note indenture to authorize that proceeds of the
Renaissance sale be paid to holders of Black Elk Class E preferred shareholders mostly PPVA,
PPCO and two other affiliated funds

81. The problem for Platinum was that a majority vote of noteholders was required to
amend the indenture. Platinum controlled a majority of the notes but it could not vote. As the
consent solicitation later recited, “Notes owned by the Company or by any person directly or
indirectly controlling or controlled by or under direct or indirect common control with the
Company shall be disregarded for purposes of determining the majority.” Moreover,
independent noteholders would have no reason to vote for such an amendment, as it would divert
the proceeds of the sale of key Black Elk assets to parties junior to themselves

82. Therefore, Platinum personnel devised a scheme to obtain the necessary consents
in a manner that deceived independent noteholders Specifically, Nordlicht, Small and Levy
worked to transfer the Black Elk notes held by PPVA to parties he and Small called “friendlies.”

83. In a March 11, 2014 email, Nordlicht wrote to Shulse, Levy, Small and another
individual, that “We are likely to have friendlies buy the bonds as of tomorrow.”

84. Two days later, Shulse sought to benefit from his support for this effort, asking
for “a substantial bonus l% of the amount of preferred’s actually paid back to Platinum;” He
added, “Platinum getting its money out of Black Elk is a good thing for Platinum and it should
be a good thing for me as well.”

85. At one point, the plan was to quietly get pro-Platinum parties representing a
majority of the notes to sign consents without consulting independent noteholders However,

the note indenture trustee resisted, insisting on a formal consent solicitation process As Shulse

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explained in an email to Nordlicht, Small and Levy: “they don’t trust our consents are valid
because we have received a default notice in the past 60 days and we have the behind the scenes
process with various dates on our consents.”

86. Nordlicht’s response to the idea of an open consent solicitation was a vehement
ne

87. Shulse, showing a complete understanding of and support for Platinum’s scheme
to control a majority of the notes supported the solicitation: “the quickest way is to do the
formal solicitation . . . get our 51% in order . . . vote it through the DTC/BNY agents and end it.”
He added, “why are we afraid of an open solicitation? Probably going to avoid a lawsuit and if
we have the bonds we say we do, the process ends as soon as we get over the number?”

88. On May 12, 2014, Shulse sent an email to Levy, Small, and Nordlicht suggesting
they slip an announcement regarding the amendment to the indenture “in with the 10Q filing so it
has a chance to get lost and not seem like such a big dea .”

89. Nordlicht, Levy and Small eventually decided to pursue a formal consent
solicitation, albeit a rigged one. Crucial to this effort Was the transfer of a large number of notes
from PPVA and its affiliates to BAM and its Beechwood affiliates BAM was closely affiliated
with Platinum Management through majority ownership by Nordlicht and other owners of
Platinum Management, and through Nordlicht’s influence over the entity thanks to the
installation of Levy as CIO and many other Platinum officials in key positions at BAM. Indeed,
in early 2014 Nordlicht told a third party that he planned to leave Platinum for BAM as of
.lanuary 1, 2015.

90. All told, prior to the consent solicitation, PPVA transferred over $37 million in

Black Elk notes to BAM and two related entities BBIL SHIP and BBlL ULICO 2014 Trust, at

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prices Nordlicht designated

91. Numerous emails reflect Nordlicht’s involvement In a May 13, 2014 email,
Nordlicht instructed that “Beechwood is buying 8 million black elk from PPVA. What is the best
way to cross? Can we do it today please.” Similarly, on June 23, 2014, he emailed: “I want to
move/sell 10 million of black elk bonds to bbil the nornura account. Please take care of it.”

After confirming that BBIL was buying the bonds from PPVA, Nordlicht emailed instructions on
July l, 2014, to sell 357 million in Black Elk bonds from PPVA to BBIL SHIP at a price of 99.

92. Levy’s position as BAM’s CIO (along with the fact that many other Platinum
Partners officials were also BAM officials) assured Nordlicht that the BAM~related entities
Would support the scheme. By July 3, the Platinum Partners-related funds and BAM-related
entities held almost $100 million out of the $150 million in Black Elk notes as reflected on a list
shared by Nordlicht, Levy and Small.

93. Meanwhile, Nordlicht, Small, Shulse and Levy participated in the drafting of a
document to be circulated to all noteholders which contained two closely related parts The first
was a tender offer, which offered to buy back notes at par. The second part was a solicitation to
consent to note indenture amendments most notably including that the proceeds of the
Renaissance sale would, after payment of any tendered notes be payable to holders of preferred
shares who were disclosed to be mostly Platinum Partners-related entities

94. During the drafting process on J'uly 3, Small circulated to Black Elk counsel a
disingenuous deceptive hypothetical question about whether $5 million in notes owned by an
affiliate had to be excluded from voting ~ in fact, PPVA and its affiliates held more than $98
million in notes Still, counsel confirmed that even Small’s hypothetical $5 million in affiliate-

held notes would have to be disregarded in the vote, and Small forwarded this finding to

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Nordlicht and Levy.
95. Despite their knowing this key principle, the final consent solicitation contained
this false representation:

As of the date hereof, there are $150 million aggregate principal amount of Notes issued j
and outstanding under the lndenture. Platinum Partners Value Arbitrage Fund, L.P. and l
its affiliates which own approximately 85% of ou`r outstanding voting membership
interests own approximately 318,321,000 principal amount of the outstanding Notes.
Otherwise, neither we, nor any person directly or indirectly controlled by or under direct
or indirect common control with us, nor, to our knowledge any person directly or
indirectly controlling us, hold any Notes (Emphasis added.)

 

The $18 million figure was a vast understatement, as it failed to disclose the $72 million in other
notes held by PPVA affiliates and BAM~related related entities Knowing the consent
solicitation contained this falsehood, and that the vote was rigged, Small signed the Black Elk
Board of Managers’ authorization for Black Elk to conduct the consent solicitation, and to
implement it should it be approved.

96 . Also, while formally the solicitation preserved the priority of tendering
noteholders in reality the offer discouraged tenders by its unattractive terms Because the notes
were callable months later at par, tendering meant foregoing months of interest for no gain.

97. However, not tendering would be a mistake if the consent solicitation were

approved. In the end, $11 million in notes were tendered by independent noteholders

 

98. Platinum caused all of the notes held by its PPVA and its undisclosed affiliates
including PPCO and PPLO, and the Beechwood entities to vote in favor of the consent
solicitation but vsn`thout tendering. Levy Was copied on the document by which Beechwood
entities cast their votes in that manner, against their own interests as noteholders but in favor of

the interests of preferred shares held by PPVA and affiliated funds

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99. Small signed the consent of Black Elk’s board of managers which falsely recited
that “the Company has received sufficient consents” to amend the indenture On August 14,
2014, Black Elk falsely claimed in a press release that “holders of $110,565,000 principal
amount of the Notes, or 73.71% of the Notes, had My consented to the Consent Solicitation.”
(Ernphasis added.) On August 21, Black Elk issued a Form 8~K announcing that it had received
“the requisite consents” of noteholders’ to, among other things apply the proceeds from the
recently-concluded Renaissance sale to retire the tendered notes and use the remaining proceeds
to repurchase preferred equity issued by Black Elk.

100. On August 18, Small, from his Platinum email address but purporting to speak
for the Black Elk board of managers directed Shulse to wire $70 million in partial payment of
Class E preferred shareholders Levy meanwhile sent Shulse specific Wire instructions for
sending to PPVA and other designated parties most of the proceeds from Black Elk’s sale of
assets to Renaissance This included three other Platinum Partners funds and one third party to
Which Platinum had sold preferred shares and was subject to a put repurchase obligation The
$20 million of Black Elk sale proceeds sent to that party extinguished that obligation After
Nordlicht pressed Shulse to “send these wires out already,” Shulse complied with the directions

101. All told, from August 18 to 21, 2014, Black Elk wired approximately $98 million
in Renaissance sale proceeds for the benefit of PPVA and its affiliated funds including PPCO
and PPLO. One other such fund, PPBE, set up specifically to invest in Black Elk notes
distributed its share of those proceeds to its investors Among those investors were Levy and
Small, who received $256,678 and $102,671, respectively, thus benefiting directly from the

Black Elk fraud.

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